USCA Case #23-7025     Document #1989121          Filed: 03/08/2023   Page 1 of 30



                                  No. 23-7025


    UNITED STATES COURT OF APPEALS FOR THE DISTRICT OF
                    COLUMBIA CIRCUIT


IN RE SUBPOENAS SERVED ON AMERICAN ACADEMY OF PEDIATRICS,
                           et al.,


  On Appeal from the United States District Court for the District of Columbia,
                          No. 1:23-mc-00004-CJN
                    Before the Honorable Carl J. Nichols


     APPELLEES’ RESPONSE IN OPPOSITION TO APPELLANTS’
      EMERGENCY MOTION FOR A STAY PENDING APPEAL


Mohammad O. Jazil
HOLTZMAN VOGEL BARAN
TORCHINSKY & JOSEFIAK PLLC
119 South Monroe Street, Suite 500
Tallahassee, FL 32301
(850) 274-1690
Counsel for Appellees
USCA Case #23-7025                   Document #1989121                        Filed: 03/08/2023              Page 2 of 30



                                           TABLE OF CONTENTS

Table of Contents ....................................................................................................i

Glossary................................................................................................................ iii

Table of Authorities ..............................................................................................iv

Introduction ........................................................................................................... 1

Background ............................................................................................................ 1

    I. The Underlying Case: Dekker v. Weida ........................................................ 2

    II. The State Seeks Discovery from the Nonparty Groups .............................. 3

    III. The Nonparty Groups File a Motion to Quash ........................................... 5

    IV. The Nonparty Groups Produce Documents................................................ 7

    V. The State and the Nonparty Groups Seek Additional 8
    Guidance from the District Court ..................................................................... 8

    VI. The Nonparty Groups Seek a Stay ............................................................. 9

Legal Standard ..................................................................................................... 10

Argument.............................................................................................................. 10

    I. This Court Must Assess Whether It Has Jurisdiction ................................. 10

    II. The Nonparty Groups Are Unlikely to Succeed on Appeal ...................... 11

         A. The Nonparty Groups’ First Amendment Concerns
         Are Overstated ........................................................................................... 12

         B. The State Needs Discovery ................................................................... 15

    III. Absent a Stay, the Nonparty Groups Would Not Be Harmed .................. 18


                                                               i
USCA Case #23-7025                  Document #1989121                       Filed: 03/08/2023             Page 3 of 30



    IV. With a Stay, the State Would be Substantially Injured ............................ 19

    V. Public Interest Weighs Against the Nonparty Groups............................... 20

Conclusion ........................................................................................................... 21

Certificate of Compliance .................................................................................... 22

Certificate of Service ........................................................................................... 23

Addendum ..........................................................................................................A-1

Certificate as to Parties ......................................................................................A-1




                                                             ii
USCA Case #23-7025                 Document #1989121                      Filed: 03/08/2023           Page 4 of 30



                                                  GLOSSARY

Shorthand                                                                                              Full Name

AACAP ................................ American Academy of Child & Adolescent Psychiatry

AAP ........................................................................ American Academy of Pediatrics

ES ................................................................................................... Endocrine Society

Nonparty Groups ...................................................Appellants Medical Organizations

State ........................................... Appellees Secretary Weida and the Florida Agency
                                                                     for Health Care Administration

WPATH.............................. World Professional Association for Transgender Health




                                                          iii
USCA Case #23-7025              Document #1989121                    Filed: 03/08/2023          Page 5 of 30



                                   TABLE OF AUTHORITIES

Cases

Abdelfattah v. U.S. Dep’t of Homeland Security,
      787 F.3d 524 (D.C. Cir. 2015)................................................................... 11

Black Panther Party v. Smith,
      661 F.2d 1243 (D.C. Cir. 1981)..................................................... 12, 14-15

Campaign Legal Ctr. v. U.S. Dep’t of Justice,
    34 F.4th 14 (D.C. Cir. 2022)...................................................................... 11

Carey v. Hume,
     492 F.2d 631 (D.C. Cir. 1974)................................................................... 12

Cuomo v. U.S. Nuclear Reg. Comm’n,
    772 F.2d 972 (D.C. Cir. 1985)................................................................... 10

In re Motor Fuel Temperature Sales Practices Litig.,
      641 F.3d 470 (10th Cir. 2011) ................................................................... 10

In re Sealed Case (Medical Records),
       381 F.3d 1205 (D.C. Cir. 2004)................................................................. 11

In re Subpoena Duces Tecum,
       439 F.3d 740 (D.C. Cir. 2006)................................................................... 14

Leopold v. CIA,
     987 F.3d 163 (D.C. Cir. 2021)................................................................... 11

Maryland v. King,
     567 U.S. 1301 (2012)........................................................................... 19-20

NAACP v. Ala. ex rel. Patterson,
    357 U.S. 449 (1958)................................................................................... 12


                                                      iv
USCA Case #23-7025                 Document #1989121                      Filed: 03/08/2023             Page 6 of 30



Nken v. Holder,
      556 U.S. 418 (2009)....................................................................... 10-11, 20

Ohio A. Philip Randolph Inst. v. Larose,
      761 F. App’x 506 (6th Cir. 2019) .............................................................. 10

Perry v. Schwarzenegger,
      591 F.3d 1147 (9th Cir. 2010) ................................................................... 11

Rush v. Parham,
      625 F.2d 1150 (5th Cir. 1980) ..................................................................... 2

Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc.,
     559 F.2d 841 (D.C. Cir. 1977)................................................................... 12

Statutes

28 U.S.C. § 1291 .................................................................................................. 10

28 U.S.C. § 1292 .................................................................................................. 11

Fla. Stat. § 409.905. ............................................................................................. 20

Other Sources

AAP Policy Statement,
     AAP, https://bit.ly/41TMuC4 ................................................................... 17

Advocacy in Action,
     ES (Feb. 24, 2023), https://bit.ly/2LqCfkh ............................................... 14

Clinical Guidelines & Training for Providers, Professionals, and Trainees,
      AACAP, https://bit.ly/3Zo0mmy ............................................................. 16




                                                           v
USCA Case #23-7025       Document #1989121           Filed: 03/08/2023    Page 7 of 30



                                 INTRODUCTION

      Fact discovery in the underlying case ends on Friday, March 10, 2023. See

Dekker v. Weida, 4:22-cv-325, Doc. 107 (N.D. Fla. Feb. 12, 2022). After months of

back and forth, late last week, the Nonparty Groups sought a stay of the district

court’s discovery-related orders based on an alleged infringement of their First

Amendment rights. The district court denied the motion. Now, with discovery

closing, the Nonparty Groups rely on the same cases and marshal the same facts to

seek a stay before this Court. A stay is not warranted.

      Stays are the rare exception, not the rule. First Amendment rights are

qualified, not absolute. The Nonparty Groups’ First Amendment concerns are

overstated, especially since the district court modified the State’s original subpoenas

and where the supporting declarations concern the original—and not the modified—

subpoenas. Regardless, the State’s interests in obtaining discovery from the

Nonparty Groups outweigh their asserted First Amendment rights.

      For these reasons, and the reasons that follow, this Court should deny the

Nonparty Groups’ emergency motion to stay.

                                 BACKGROUND

      As context to the Nonparty Groups’ motion to stay, the State provides a more

comprehensive account of the underlying Northern District of Florida case, the third-

party discovery, and the proceedings below.


                                          1
USCA Case #23-7025       Document #1989121           Filed: 03/08/2023   Page 8 of 30



I.       The Underlying Case: Dekker v. Weida

      The Plaintiffs in the underlying case challenge a Florida rule that denies

Medicaid reimbursement for certain treatments for gender dysphoria—puberty

blockers, cross sex hormones, surgeries, and procedures that alter primary and

secondary sex characteristics. In framing the case, the Dekker court relied on binding

circuit precedent, Rush v. Parham, 625 F.2d 1150 (5th Cir. 1980), and narrowed the

central issue to “whether, based on current medical knowledge,” the State

“reasonabl[y]” “determin[ed]” that the at-issue treatments are “experimental.” Doc.

11-1 at 1; see also Dekker v. Weida, 4:22-cv-325, Doc. 64 at 4 (N.D. Fla. Oct. 24,

2022).

      The Dekker Plaintiffs maintain that the Nonparty Groups represent the

medical consensus on treatments for gender dysphoria. In their complaint, they state

that the at-issue treatments are “the prevailing standard of care, accepted and

supported by every major medical organization in the United States,” principally,

members of the Nonparty Groups. Doc. 11-1 at 368-80.

      The Dekker Plaintiffs continued their reliance on the Nonparty Groups during

the Dekker preliminary injunction hearing. There, the State put its expert witness,

Dr. Laidlaw, on the stand. To discredit him, the Dekker Plaintiffs asked Dr. Laidlaw

if he was “aware that” his “opposition to gender-affirming care for the treatment of

gender dysphoria in youth and adults is contrary to the vast majority of medical


                                          2
USCA Case #23-7025      Document #1989121          Filed: 03/08/2023   Page 9 of 30



associations’ recommendations?” Id. at 902-15. The Dekker Plaintiffs pursued this

line of questioning for approximately fifteen transcript pages, marching through

different medical organizations’ guidelines and policy statements. Id. Those groups

included the American Academy of Child & Adolescent Psychiatry, the American

Academy of Family Physicians, the American College of Obstetricians and

Gynecologists, the American Medical Association, the Endocrine Society, and

Pediatric Endocrine Society. Id.

      The Nonparty Groups also attempted to file an amicus brief in the Dekker

case. In it, they stated that the “widely accepted recommendation of the medical

community, including that of the respected professional organizations participating

here as amici, is the standard of care for treating gender dysphoria is ‘gender-

affirming care.’” Id. at 456. When discussing the medical consensus on the

“treatment protocols for gender dysphoria,” the Nonparty Groups expressly relied

on guidelines and standards from the World Professional Association for

Transgender Health and Endocrine Society, among other Nonparty Group members.

Id. at 482-83.

II.      The State Seeks Discovery from the Nonparty Groups

      Given the Dekker court’s focus on the current-medical-knowledge standard,

and given the Dekker Plaintiffs’ position that the Nonparty Groups embody the




                                        3
USCA Case #23-7025      Document #1989121          Filed: 03/08/2023    Page 10 of 30



current medical consensus on treatments for gender dysphoria, the State sought

discovery from the Nonparty Groups. It did so nearly four months ago.

      On November 8, 2022, the State served three Nonparty Groups—World

Professional Association for Transgender Health (herein “WPATH”), Endocrine

Society (herein “ES”), and American Academy of Pediatrics (herein “AAP”)—with

a subpoena for depositions and document production. In particular, the State sought:

            Request No. 1: Any documents that state the total number of
      your membership.
            Request No. 2: Any documents that describe how you establish
      guidelines, standards, best-practices, or policy positions.
             Request No. 3: Any documents describing how you established
      guidelines, standards, best-practices, or policy positions on gender-
      affirming care for gender dysphoria. Any documents and
      communications showing the individuals or committees that proposed,
      reviewed, modified, or voted on your guidelines, standards, best-
      practices, or policy positions on gender-affirming care for gender
      dysphoria.
             Request No. 4: Any communications with your membership
      concerning your guidelines, standards, best-practices, or policy
      positions on gender-affirming care for gender dysphoria.
            Request No. 5: Any documents and communications detailing
      your intention to file an amicus brief in Dekker v. Marstiller, 4:22-cv-
      00325-RH-MAF (N.D. Fla.).
             Request No. 6: Any documents and communications with
      consultants, federal or Florida government officials, lobbyists,
      researchers, scholars, members of the public, or any other person
      relating to gender dysphoria or your guidelines, standards, best
      practices, or policy positions on gender-affirming care for gender
      dysphoria.
            Request No. 7: Any documents and communications showing
      any side effects and risks associated with the treatments recommended

                                         4
USCA Case #23-7025       Document #1989121          Filed: 03/08/2023   Page 11 of 30



        through your guidelines, standards, best-practices, or policy positions
        on gender-affirming care for gender dysphoria.

E.g., Doc. 1-4 at 2-16. The deposition topics mirrored the document requests. On

December 2, 2022, WPATH, ES, and AAP responded and objected to the deposition

requests and requested documents. E.g., Doc. 1-22 at 2-25.

        On November 15, 2022, the State served the fifteen remaining Nonparty

Groups with a subpoena for documents only. E.g., Doc. 1-19 at 2-15. The documents

sought were the same as the documents sought for WPATH, ES, and AAP. On

December 19, 2022, the remaining Nonparty Groups responded and objected to the

document requests. Doc. 1-25 at 2-20.

        Both the State and the Nonparty Groups conducted several good-faith meet

and confers. The State agreed to narrow several document requests, and the State

agreed that the Nonparty Groups could mark documents as confidential and redact

member names, member lists, and other member-specific identifying information in

the produced documents. Still, the Nonparty Groups contended that neither

depositions nor document productions should occur.

 III.       The Nonparty Groups File a Motion to Quash

        On January 13, 2023, the Nonparty Groups filed a motion to quash the State’s

subpoenas. Doc. 1. They alleged in relevant part that the subpoenas encroached on




                                          5
USCA Case #23-7025      Document #1989121          Filed: 03/08/2023    Page 12 of 30



their First Amendment rights. Doc. 1-1. On January 20, 2023, the State responded,

Doc. 11, and on January 25, 2023, the Nonparty Groups replied, Doc. 14.

      On January 26, 2023, the district court held a hearing on the motion. During

the hearing, the district court decided to grant in part, deny in part, and hold in

abeyance in part the motion. After considering the Nonparty Groups’ First

Amendment rights, and after considering the State’s need for discovery, the district

court narrowed the requests for documents as follows:

           Request No. 1. Documents sufficient to show the Nonparty
      Groups’ total number of members.
            Request No. 2. Documents sufficient to show how they establish
      guidelines or, if they do not establish guidelines, policy positions.
            Request No. 3. Their guidelines or policy positions (if any) on
      gender-affirming care for gender dysphoria.
             Request No. 4. Documents sufficient to show how they
      established guidelines or, if they have not established guidelines, their
      policy positions (if any) on gender-affirming care for gender dysphoria.
            Request No. 5. Any official communications with their
      membership concerning their guidelines or, if they have not established
      guidelines, their policy positions (if any) on gender-affirming care for
      gender dysphoria.

Doc. 18 (alternations made). The district court ordered the Nonparty Groups to

produce documents responsive to these requests. As for the depositions, the district

court held that decision in abeyance, reasoning that a sufficient document production

might negate the need for depositions. Id.




                                         6
USCA Case #23-7025      Document #1989121            Filed: 03/08/2023    Page 13 of 30



 IV.      The Nonparty Groups Produce Documents

       On February 9, 2023, the eighteen Nonparty Groups produced a total of 387

documents. Sixteen of the Nonparty Groups produced less than five documents each.

Some produced public newsletters and press releases that were marked confidential.

And none adequately responded to modified Request 4, which required the

production of documents sufficient to show how the Nonparty Groups established

guidelines or, if they have not established guidelines, their policy positions (if any)

on gender-affirming care for gender dysphoria.

       During ensuing meet and confers, the State and the Nonparty Groups took

different positions on this issue. For the State, documents showing how a medical

organization establishes guidelines and policy positions would include

communications with decisionmakers on the guidelines and policy positions, drafts

of the guidelines and policy positions themselves, and any internal dissent from

members about the guidelines and policy positions. In other words, documents

responsive to this modified request should be substantive in nature.

       The Nonparty Groups took the opposite position. They said that documents

responsive to modified Request 4 need only be procedural in nature—documents

evidencing what procedures the Nonparty Groups complied with when establishing

their guidelines and policy positions on treatment for gender dysphoria.




                                          7
USCA Case #23-7025      Document #1989121          Filed: 03/08/2023   Page 14 of 30



      Moreover, the State and the Nonparty Groups disagreed on the necessity and

the scope of conducting WPATH, ES, and AAP depositions.

 V.      The State and the Nonparty Groups Seek Additional Guidance
         from the District Court

      On February 27, the district court held a hearing on these discovery disputes

and provided further clarification. Regarding modified Request 4, the district court

explained that:

      In producing documents sufficient to show “how” the Nonparty Groups
      established guidelines or policy positions on gender-affirming care for
      the treatment of gender dysphoria, the Nonparty Groups shall produce
      documents sufficient to show both (a) the process by which any such
      guidelines or policy positions were adopted, and (b) the substantive
      materials and opinions that were considered and relied upon, as well as
      the materials and opinions that were considered and rejected, in
      adopting the guidelines or policy positions. This includes, but is not
      limited to, documents that would be sufficient to show what studies
      were considered in adopting the guidelines or policy positions and why
      a particular study was relied upon or rejected. It also includes
      documents that would be sufficient to show whether any dissenting
      views were otherwise acknowledged, whether such views were
      considered in adopting guidelines or policy positions, and why such
      views were rejected.

Doc. 26. And regarding the WPATH, ES, and AAP depositions, the district court

ordered the three Nonparty Groups to sit for limited depositions and discuss the

following:

      a. The organization’s total number of members.
      b. How the organization establishes guidelines or policy positions.
      c. The organization’s guidelines or policy position on gender-affirming
      care for gender dysphoria.

                                         8
USCA Case #23-7025        Document #1989121           Filed: 03/08/2023   Page 15 of 30



         d. How the organization established its guidelines or policy position on
         gender-affirming care for gender dysphoria (as clarified by this Order
         and the Court’s oral instructions).
         e. Official communications with the organization’s membership
         concerning its guidelines or policy position on gender-affirming care
         for gender dysphoria.

Id. (alterations made).

 VI.         The Nonparty Groups Seek a Stay

         On March 2, 2023, The Nonparty Groups moved to stay the district court’s

discovery orders. Doc. 27. They again argued that the orders encroached upon their

First Amendment rights. Doc. 27-1. On March 3, 2023, the State responded, arguing

that the Nonparty Groups’ First Amendment concerns were misplaced, given the

State’s agreement to redact member names and member-specific information, and

given the district court’s modification of the State’s original subpoenas. Doc. 30-1.

The State also argued that the district court correctly weighed the Nonparty Groups’

First Amendment rights against the State’s need for discovery. Id.

         On March 3, 2023, the district court denied the stay and extended the

document production and deposition deadlines to March 10. Doc. 31. Now, the

Nonparty Groups appeal the district court’s decisions and seek a stay before this

Court.




                                            9
USCA Case #23-7025       Document #1989121            Filed: 03/08/2023     Page 16 of 30



                                LEGAL STANDARD

      A stay pending appeal depends on four factors: (1) the likelihood that the

moving party will prevail on the merits; (2) the prospect of irreparable injury to the

moving party if relief is withheld; (3) the possibility of harm to other parties if relief

is granted; and (4) the public interest. D.C. Cir. Local Rule 8(a). The first two stay

factors are the most crucial. Nken v. Holder, 556 U.S. 418, 434 (2009). And the

moving party bears the heavy burden to show that the “exercise of the court’s

extraordinary injunctive powers is warranted.” Cuomo v. U.S. Nuclear Reg.

Comm’n, 772 F.2d 972, 974 (D.C. Cir. 1985) (per curiam).

                                    ARGUMENT

      The Nonparty Groups fail to meet any of the four stay factors. They are

unlikely to succeed on the merits or suffer irreparable harm, and a stay pending

appeal will harm the State and undermine the public interest.

I.    This Court Must Assess Whether It Has Jurisdiction

      Before assessing the stay factors, however, this Court must satisfy itself that

it has jurisdiction over this matter. Several appellate courts have held that they do

not have jurisdiction under 28 U.S.C. § 1291 to review orders compelling

discovery—even over supposedly privileged materials. See, e.g., In re Motor Fuel

Temperature Sales Practices Litig., 641 F.3d 470, 482 (10th Cir. 2011); Ohio A.

Philip Randolph Inst. v. Larose, 761 F. App’x 506, 511 (6th Cir. 2019); see also


                                           10
USCA Case #23-7025       Document #1989121            Filed: 03/08/2023   Page 17 of 30



Perry v. Schwarzenegger, 591 F.3d 1147, 1156 (9th Cir. 2010). This Court

seemingly came to the opposite conclusion in In re Sealed Case (Medical Records),

381 F.3d 1205, 1209 (D.C. Cir. 2004). The State notes this circuit-split and preserves

its right to further brief the issue should the need arise.

      To be sure, the Nonparty Groups cannot avail themselves of other appellate

avenues. Neither 28 U.S.C. § 1292(a)(1) nor this Court’s decision in Leopold v. CIA,

987 F.3d 163 (D.C. Cir. 2021), serves as a basis for appellate jurisdiction. Leopold

stands only for the proposition that “orders requiring disclosure of documents [in

FOIA cases] are appealable injunctions” for purposes of § 1292(a)(1). Campaign

Legal Ctr. v. U.S. Dep’t of Justice, 34 F.4th 14, 22 (D.C. Cir. 2022) (quoting

Leopold, 987 F.3d at 169) (alteration in original, emphasis added). Mandamus

arguments buried in a footnote “need not” be “consider[ed],” either. Abdelfattah v.

U.S. Dep’t of Homeland Security, 787 F.3d 524, 532 (D.C. Cir. 2015).

II.   The Nonparty Groups Are Unlikely to Succeed on Appeal

      Assuming jurisdiction exists, the Nonparty Groups cannot meet the first stay

factor—strong showing of success on the merits. This first factor requires more than

a negligible chance of success. Nken, 556 U.S. at 434 (cleaned up). The chance of

success must be “substantial,” with “questions going to the merits so serious,”

“difficult[,] and doubtful, as to make them a fair ground for litigation and thus for

more deliberative investigation.” Wash. Metro. Area Transit Comm’n v. Holiday


                                           11
USCA Case #23-7025       Document #1989121            Filed: 03/08/2023    Page 18 of 30



Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977) (cleaned up). Given the outsized

importance of this factor, failing to satisfy it is likely “fatal.” CREW v. Fed. Election

Comm’n, 904 F.3d 1014, 1019 (D.C. Cir. 2018) (per curiam). And it is fatal here.

      A.     The Nonparty Groups’ First Amendment Concerns Are
             Overstated

      The Nonparty Groups contend that, if they are subject to depositions and are

required to produce additional documents, such measures would violate their First

Amendment rights, namely “frustrating their ability to organize, entertain

uninhibited and candid internal debates, make well-reasoned decisions and generate

work product that is useful to the public.” Mot. to Stay at 18. Not so.

      1.     As an initial matter, First Amendment rights are not absolute. When

invoked in discovery disputes, these qualified constitutional rights are subject to a

balancing test. That test requires that courts balance one party’s “First Amendment

claim[s]” with an opposing party’s “need for the information sought.” Black Panther

Party v. Smith, 661 F.2d 1243, 1266 (D.C. Cir. 1981). If the latter outweighs the

former, then disclosure is required. See Carey v. Hume, 492 F.2d 631, 639 (D.C. Cir.

1974) (holding that the First Amendment is not an absolute bar to discovery).

      True, disclosing member lists and member names does encroach upon First

Amendment rights, and usually tilts the balance against disclosure. See NAACP v.

Ala. ex rel. Patterson, 357 U.S. 449, 462 (1958). In this case, however, the State has

already agreed that member lists and member names should be redacted, as the
                                           12
USCA Case #23-7025       Document #1989121           Filed: 03/08/2023    Page 19 of 30



Nonparty Groups have already done so in their limited production. The State has

also repeatedly explained that it does not care about the whos—the names of

members who created guidelines or policies. The State’s focus remains on the hows

and whats—namely how the Nonparty Groups created their guidelines and policy

positions on gender-affirming care, what evidence they disregarded, and what

dissent, if any, was expressed. The chilling effect that comes with naming names is

thus absent and has been further minimized by the district court’s repeated narrowing

of the State’s discovery requests.

      2.     In addition, the Nonparty Groups must substantiate their First

Amendment fears. The only substantive evidence that they rely on here are

declarations from a single AAP member, a single ES member, and a single WPATH

member. Mot. at 18. These declarations are not enough for four reasons.

      First, these declarations address concerns over the original subpoenas. E.g.,

Doc. 1-1, ¶ 16; Doc. 1-2, ¶ 15; Doc. 1-3, ¶ 13. The district court modified the original

subpoenas and narrowed them to the Nonparty Groups’ benefit. Therefore, the

concerns expressed in the declarations are outdated and do not express the concerns

with the now-modified, narrowed subpoenas.

      Second, the AAP, ES, and WPATH declarations themselves do not

demonstrate “substantial” First Amendment harms to the organizations; the

declarations certainly do not demonstrate that the harms are “probabl[e].” Black


                                          13
USCA Case #23-7025      Document #1989121           Filed: 03/08/2023   Page 20 of 30



Panther Party, 661 F.2d at 1267-68. The declarations mostly illustrate speculative,

future concerns. Doc.1-1, ¶ 19; Doc. 1-2, ¶¶ 14-15; Doc. 1-3, ¶ 13. There is also no

explanation for why the speculative beliefs of one member of AAP, ES, and

WPATH should apply to the organizations as a whole. Doc. 1-1, ¶ 16; 1-2, ¶ 13.

      Third, to the extent that they demonstrate First Amendment concerns, the

declarations concern only three of eighteen Nonparty Groups. The fifteen remaining

Nonparty Groups offer no facts, none whatsoever, to support their First Amendment

concerns. These unstated concerns cannot be weighed and measured. “It is well

established that the proponent of a privilege bears the burden of demonstrating facts

sufficient to establish a privilege’s applicability.” In re Subpoena Duces Tecum, 439

F.3d 740, 750 (D.C. Cir. 2006) (emphasis added).

      And fourth, there is no indication that “disclosure of the substance of each

organization’s internal deliberative processes—including to one of the principal

public policy opponents”—would lead to chilling of member participation and

“damage to each organization’s ability to organize and operate effectively.” Mot. to

Stay at 20 (emphasis in the original). In fact, the Nonparty Groups’ recent actions

contradict this concern. Just two weeks ago—which is after ES produced internal

documents to the State—ES announced that it is now intensifying its advocacy

actions, including lobbying Congress. See Advocacy in Action, ES (Feb. 24, 2023),

https://bit.ly/2LqCfkh. These actions show the opposite of a chilling effect.


                                         14
USCA Case #23-7025      Document #1989121           Filed: 03/08/2023    Page 21 of 30



      B.     The State Needs Discovery

      1.     Even if the Nonparty Groups had substantiated their First Amendment

fears, the State’s need for depositions and documents outweighs those fears. The

information being sought goes to “the heart of” the underlying case against the State

currently pending before the Northern District of Florida. Black Panther Party, 661

F.2d at 1268.

      As explained above in the background section, the Dekker court narrowed the

central issue in that case to “whether, based on current medical knowledge,” the

State’s “determination that” the at-issue treatments for gender dysphoria “are

experimental is reasonable.” During the preliminary injunction hearing, the Dekker

Plaintiffs repeatedly asked the State’s expert witness whether he was aware that his

views on treatments for gender dysphoria did not mirror the views of many of the

Nonparty Groups—including those who promulgate treatment guidelines and those

that take policy positions on the issue. What is more, the Nonparty Groups

themselves claimed, when they tried to file an amicus brief in Dekker, that they

represent the medical consensus. In short, the discovery that the State seeks from the

Nonparty Groups is at the heart of the Dekker case. The Nonparty Groups’

arguments to the contrary do not change that conclusion.

      2.     The Nonparty Groups contend that “the State is not seeking evidence

of consensus among the purported medical establishment—the very issue that it


                                         15
USCA Case #23-7025       Document #1989121            Filed: 03/08/2023   Page 22 of 30



claims goes to the ‘heart of the matter.’ Rather, it is seeking evidence of alleged

dissent within individual organizations.” Mot. to Stay at 22 (emphasis in the

original). This false distinction misses the point.

      If the organizations represent the views of only a handful of their members,

or otherwise ignore the perspective of some substantial subset of their members, then

they cannot represent the medical consensus. It is only through documents (with

names redacted) and questioning (limited to the district court’s parameters) that the

State can determine these facts.

      Exploring the consensus among the Nonparty Groups is also important. In

their motion, the Nonparty Groups significantly downplay how their organizations’

guidelines and policy positions are interlocked. Consider, for example, Nonparty

Group American Academy of Child & Adolescent Psychiatry (herein “AACAP”). It

wholesale adopts the guidelines and policy positions of other Nonparty Groups—

AAP, ES, and WPATH—on treatments for gender dysphoria. See Clinical

Guidelines & Training for Providers, Professionals, and Trainees, AACAP,

https://bit.ly/3Zo0mmy (last visited Mar. 7, 2023). Accordingly, the State should be

able to see documents showing why and how AACAP decided to wholesale adopt

those guidelines and positions. Was it through a well-reasoned, thorough, thoughtful

decisionmaking process, or was it just an executive decision made by two AACAP

board members? The same is true for AAP: in its 2018 policy position on gender-


                                          16
USCA Case #23-7025      Document #1989121           Filed: 03/08/2023    Page 23 of 30



affirming care, it relies on WPATH’s guidelines. AAP Policy Statement, AAP,

https://bit.ly/41TMuC4 (last visited Mar. 7, 2023). But it is unclear why AAP relied

on WPATH. All of those questions go to the central issue in Dekker.

      3.     The Nonparty Groups suggest examples of alternative sources of

information that the State could have obtained. The Nonparty Groups, however, do

not realize that the State has already exhausted those alternative sources.

      The Nonparty Groups argue that the State should have sought out views from

members of the American College of Pediatricians. Mot. to Stay at 22. The State

already did that: Dr. Andre Van Mol, a member, wrote a declaration for the State

during the Dekker preliminary injunction phase of litigation. 4:22-cv-00325, Doc.

49-3 at 138 (N.D. Fla. 2022).

      The Nonparty Groups then contend that the State should also try members

from the Society of Evidence Based Gender Medicine. Mot. to Stay at 22. But the

State already did that: Dr. Michael Biggs, a member, has written an expert report for

the State in Dekker.

      Not satisfied, the Nonparty Groups claim that the State “could speak with

individuals who have publicly dissented from the policies” of the Nonparty Groups.

Mot. to Stay at 22. The State already did that, too. As the district court

acknowledged, the State spoke with Dr. Joseph Zanga, an AAP member, who stated




                                         17
USCA Case #23-7025       Document #1989121           Filed: 03/08/2023    Page 24 of 30



that the organization might have suppressed member views that ran contrary to

AAP’s position on gender-affirming care. Doc. 31 at 4.

       After exhausting these alternative sources, the State determined that it did not

have sufficient information to rebut the Dekker Plaintiffs’ reliance on the Nonparty

Groups’ guidelines and policy positions on treatments for gender dysphoria. The

district court was thus correct in stating that “there is no plausible alternative

sources—the Nonparty Groups, and the Nonparty Groups alone, possess the

requested information.” Id.

       In sum, even if the Nonparty Groups have a fact-specific First Amendment

concern, which they do not, the State’s interests outweigh those concerns. The

Nonparty Groups thus have no likelihood of success on the merits.

III.   Absent a Stay, the Nonparty Groups Would Not Be Harmed

       The Nonparty Groups’ failure to satisfy the irreparable harm factor is equally

fatal. Irreparable harm must be “both certain and great,” “likely” “and actual,” and

not merely “theoretical.” CREW, 904 F.3d at 1019 (cleaned up). The Nonparty

Groups cannot show such harm. As noted above, the district court has already

allowed redactions of member names and member lists after modifying the State’s

original subpoenas. The Nonparty Groups’ declarations also do not demonstrate

facts that show certain, great, likely, or actual First Amendment injuries. This is so

because the declarations express concerns rooted in the original subpoenas, not the


                                          18
USCA Case #23-7025       Document #1989121           Filed: 03/08/2023   Page 25 of 30



district-court-modified subpoenas; they focus on future, speculative, and individual

First Amendment concerns; and at best, they discuss First Amendment concerns for

three out of eighteen organizations. The State refuted the Nonparty Groups’ reliance

on their declarations below, and the Nonparty Groups fail to even address the State’s

arguments here. All told, the Nonparty Groups have not carried their burden on the

second factor. Their harms are, at best, “theoretical.” Id.

IV.   With a Stay, the State Would Be Substantially Injured

      Again, in the Dekker court’s framing of the issue, the State must be allowed

to determine how the Nonparty Groups—the self-professed guardians of medical

expertise—created their guidelines and policy positions on treatments for gender

dysphoria. Absent this substantive information, the State remains in the dark. Should

this secret science result in the State’s rule being stricken, the State would be

irreparably harmed. See generally Maryland v. King, 567 U.S. 1301, 1303

(2012) (Roberts, C.J., in chambers) (a state suffers irreparable harm when it is not

allowed to enforce its laws).

      To be more precise, any stay would harm the State with fact discovery in the

underlying case ending on March 10. The Nonparty Groups speculate that the

Dekker court might extend the discovery deadline, but it is unknown whether or not

the court would extend fact discovery for a third time. The Dekker court, at the

Dekker Plaintiffs’ request, fast-tracked this case. See Doc. 67 at 2, 4:22-cv-00325


                                          19
USCA Case #23-7025      Document #1989121            Filed: 03/08/2023   Page 26 of 30



(N.D. Fla. 2022) (“This [scheduling] order sets an aggressive schedule because the

claims are of a kind that should be resolved as promptly as feasible.”). The State is

bound to complete discovery by the current deadline set by the Dekker court. The

time to conduct nonparty discovery is now, and the State is harmed in its absence.

V.    Public Interest Weighs Against the Nonparty Groups

      Finally, the public interest weighs in the State’s favor, not the Nonparty

Groups’. As noted above, the district court correctly concluded that the Nonparty

Groups’ asserted First Amendment concerns are outweighed by the State’s need for

the sought-after discovery. This information will go toward proving (or disproving)

the experimental nature of the at-issue treatments for gender dysphoria. Having this

information furthers the State’s goal in ensuring that its Medicaid program

reimburses only non-experimental services, and not for services that might pose

significant (and unknown) medical risks or otherwise do more harm than good. See

Fla. Stat. § 409.905(9) (stating the State’ Medicaid agency “shall not pay for”

Medicaid” “services that are” “experimental”); Nken, 556 U.S. at 436 (public interest

in enforcing laws); King, 567 U.S. at 1303 (same).

      The Nonparty Groups present an additional argument: they say that an open,

robust, scientific dialogue on treatments for gender dysphoria—behind closed

doors—furthers the public interest. Mot. to Stay at 25. Not so. Any dialogue behind

closed doors necessarily excludes voices from the debate. Such exclusions are not

                                         20
USCA Case #23-7025      Document #1989121          Filed: 03/08/2023   Page 27 of 30



in the public interest when seeking to steer the scientific consensus on this or any

other issue. Such exclusions foster mistrust and sow the seeds of misinformation.

Transparency serves the public better than secrecy. Here, transparency comes with

the safeguards the district court already imposed. See generally CREW, 904 F.3d at

1019-20 (citing cases for the proposition that transparency is beneficial in the

election-campaign-disclosure context).

                                 CONCLUSION

      None of the four stay factors favors the Nonparty Groups. The district court

agreed. This Court should similarly deny the Nonparty Groups’ motion, for the

reasons expressed above.

Dated: March 8, 2023

                                      Respectfully submitted,

                                      /s/ Mohammad O. Jazil
                                      Mohammad O. Jazil
                                      HOLTZMAN VOGEL BARAN
                                      TORCHINSKY & JOSEFIAK PLLC
                                      119 South Monroe Street, Suite 500
                                      Tallahassee, FL 32301
                                      (850) 391-0503
                                      mjazil@holtzmanvogel.com

                                      Counsel for Appellees




                                         21
USCA Case #23-7025      Document #1989121       Filed: 03/08/2023   Page 28 of 30



                       CERTIFICATE OF COMPLIANCE

      1.    This document complies with the type-volume limits of Federal Rule

of Appellate Procedure 27(d)(2)(A). The document has 4,658 words.

      2.    This document complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Federal

Rule of Appellate Procedure 32(a)(6); this document has been prepared using 14-

Times New Roman font in Microsoft Word 2016.

Dated: March 8, 2023

                                    /s/ Mohammad O. Jazil
                                    Mohammad O. Jazil




                                      22
USCA Case #23-7025      Document #1989121         Filed: 03/08/2023   Page 29 of 30



                         CERTIFICATE OF SERVICE

        I certify that on March 8, 2023, the foregoing was filed on the CM/ECF

system, which sent it to counsel of record.

Dated: March 8, 2023                   /s/ Mohammad O. Jazil
                                       Mohammad O. Jazil




                                         23
USCA Case #23-7025      Document #1989121          Filed: 03/08/2023   Page 30 of 30



                                   ADDENDUM

                        CERTIFICATE AS TO PARTIES

      All parties and amici appearing before the district court and this court are

listed in the Appellants’ motion to stay at 32.

Dated: March 8, 2023                    /s/ Mohammad O. Jazil
                                        Mohammad O. Jazil




                                         A-1
